                                                                              08/27/2024


     IN THE SUPREME COURT OF THE STATE OF MONTANA                         Case Number: DA 24-0388



                            No. DA 24-0388

In the matter of:

M.S.-L.,

YOUTH IN NEED OF CARE.


                                ORDER


     Upon consideration of Appellant’s motion for extension of time,

and good cause appearing,

     IT IS HEREBY ORDERED that Appellant is granted an extension

of time to and including October 2, 2024, within which to prepare, file,

and serve Appellant’s opening brief on appeal.




                                                              Electronically signed by:
                                                                 Bowen Greenwood
                                                             Clerk of the Supreme Court
                                                                   August 27 2024
